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INTELLECTUAL PROPERTY PURCHASE AND ASSIGNMENT AGREEMENT

This Intellectual Property Purchase and Assignment Agreement (the
"Agreement") is made as of April 13, 2020 (the "Effective Date), between Todd
Meagher ("Meagher"), and GHER Solutions, LLC, a Delaware Limited Liability
Company registered to conduct business in Texas as a foreign entity C"GHER").

RECITALS

A. Meagher is the owner of the federally registered trademarks Registration
Certificate Numbers 3,776,817, 3,647,253, 3,712,651 and their associated
goodwill, software patents US Patent Numbers 9,442,626 and 8,346,575, and
common law trademark rights and pending trademark registration applications
Serial Numbers 88216119 and 88843232 for the marks MyStore and MyStore.com
and their associated goodwill. (the "IP Rights")

B. GHER is a Licensee and user of the IP Rights.
C. GHER is an unsecured creditor in the Meagher Chapter 11 bankruptcy.

D. GHER wishes to acquire Meagher's rights in the IP Rights, and Meagher
wishes to sell such rights to GHER on the terms and conditions set forth
below.

AGREEMENT

THEREFORE, in consideration of the payment of the purchase price by GHER to
Meagher, the sufficiency of which consideration is hereby acknowledged, GHER
and Meagher hereby agree as follows:

1. ASSIGNMENT.

Meagher hereby sells, assigns, conveys and transfers to GHER Meagher's entire
right, title and interest in and to the IP Rights, together with all goodwill
associated therewith, for use and registration by GHER.

2. PURCHASE PRICE.

The purchase price for the IP Rights is ,GGEtachl
GHER to Meagher as follows: [xzterete(tel

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3. PAYMENT SCHEDULE.

Payment for the IP Rights will be made as follows:

(a) Upon the issuance of an Order by the UNITED STATES BANKRUPTCY
COURT FOR THE NORTHERN DISTRICT OF TEXAS FORT WORTH DIVISION
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authorizing Meagher to sell and assign the IP Rights to GHER Solutions,
LLC. pursuant to this Agreement, free and clear of all liens, claims, and
encumbrances, GHER will withdraw its $400,000.00 creditor claims in the
Meagher Chapter 11 bankruptcy.

(Cb) Upon (a) the successful issuance of trademark registration
certificates of the pending trademark registration applications Serial
Numbers 88216119 and 88843232 and the successful assignment of those
trademark registration certificates as well as the trademark Registration
Certificate Numbers 3,776,817, 3,647,253, 3,712,651, and (Cb) the
successful assignment of software patents US Patent Numbers 9,442,626 and
8,346,575 to GHER Solutions, LLC, GHER will transfer the remaining
$200 ,@@@.@@ to an account designated by Meagher.

4. MEAGHER'S COVENANTS.
Meagher covenants and agrees that he:

a. will not contest GHER's full and complete ownership of the IP Rights
for any service or product, including the rights to use, license the use
of and/or register the IP Rights for any service or product; and

b. will not use or seek to register the IP Rights for any service or
product.

5. TERRITORY: It is understood and agreed by GHER that Meagher makes no
representation or warranty that Meagher holds rights in the IP Rights outside
the United States and Meagher shall have no liability to GHER, its
successors, assigns or licensees arising from the services or products
bearing the IP Rights outside the United States.

6. MEAGHER'S REPRESENTATIONS AND WARRANTIES. Meagher warrants’ and
represents to GHER that as of the Effective Date:

a. Meagher has full right and authority to enter into this Agreement and
to consummate the transaction contemplated hereby.

b. Save for the Court Approval as outlined in Section 3(a), above, any
and all consents and approvals which may be required in order for Meagher
to enter into this Agreement or consummate the transaction contemplated
hereby have been obtained. This Agreement and all documents required
hereby to be executed by Meagher are and shall be valid, legally binding
obligations of and enforceable against Meagher, its successors and
assigns in accordance with their terms. Neither the execution of this
Agreement nor the consummation of the transaction contemplated hereby
will be in violation of any judgment, order, permit, writ, injunction or
decree of any court, commission, bureau or agency to which Meagher is
subject or by which Meagher is bound, or constitute a breach or default
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under any agreement or other obligation to which Meagher is a party or
otherwise bound.

c. To the best of Meagher's knowledge, he is the owner of all right
title and interest in the IP Rights.

d. To the best of Meagher's knowledge, there is no past due fee or
payment owing in the respective registries relating to the IP Rights.
Meagher agrees, however, that should any payment or fee incurred prior to
the Effective Date become known to Meagher or GHER, Meagher will pay such
fee to the respective registry or to GHER as mutually agreed by the
parties.

7. GHER'S REPRESENTATIONS AND WARRANTIES.
GHER represents and warrants to Meagher that as of the Effective Date:

a. GHER is a corporation duly organized and in good standing under the
Laws of Delaware. GHER has full right and authority to enter into this
Agreement and to consummate the transaction contemplated hereby. AL1
requisite corporate action has been taken by GHER in connection with the
entering into of this Agreement and the instruments referenced herein and
the consummation of the transaction contemplated hereby. The person
signing this Agreement on behalf of GHER is duly authorized to do so.

b. Any and all consents and approvals which may be required in order for
GHER to enter into this Agreement or consummate the transaction
contemplated hereby have been obtained. This Agreement and all documents
required hereby to be executed by GHER are and shall be valid, legally
binding obligations of and enforceable against GHER, its successors and
assigns in accordance with their terms. Neither the execution of this
Agreement nor the consummation of the transaction contemplated hereby
Will be in violation of any judgment, order, permit, writ, injunction or
decree of any court, commission, bureau or agency to which GHER is
subject or by which GHER is bound, or constitute a breach or default
under any agreement or other obligation to which GHER is a party or
otherwise bound.

8. ASSIGNMENT OF EXISTING LICENSES.
Meagher, as IP Rights Licensor, shall assign any and all of his rights and
interests in the any License agreements for use of the IP Rights to GHER as

of the Effective Date.

9. MISCELLANEOUS.

a. This Agreement shall be governed by the substantive laws of the State
of Texas, applicable to agreements fully executed and performed in said

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state. With respect to any action commenced by Meagher against GHER or by
GHER against Meagher for any breach hereof or otherwise commenced with
respect hereof, each of the - parties hereby’ irrevocably and
unconditionally submits to personal jurisdiction and venue in the Federal
courts in the Northern District of Texas. Each of the parties agrees that
it will not bring any action in any other jurisdiction. The parties
consent to service of process by certified mail, return receipt
requested. For the purposes of this Paragraph 9, "final judgment" means a
final judgment from which no appeal or right of appeal exists in any U.S.
Federal court. A final judgment against a party in any such action or
proceeding shall be conclusive, and may be enforced in_ other
jurisdictions by suit on the judgment, a certified or true copy of which
shall be conclusive evidence of the fact and the amount of indebtedness
or liability of or other remedy awarded against such party therein
described. In addition, a non-final judgment may be enforced in other
jurisdictions to the extent enforceable by law.

b. All notices, payments, and statements that are required or may be
given, shall be in writing, in the English Language, and either:

i. personally delivered;
ii. sent via certified air mail with a return receipt requested; or

iii sent via electronic means which produces a written record of the
notice given.

Notices shall be addressed as follows:

If to Meagher:

Todd Meagher

2101 Legacy Court
Keller, Texas 76248
toddme@gher .com
817-403-1188

If to GHER:

GHER Solutions, LLC
55@ Reserve Street
Southlake Texas, 76092
corp@gher.com
817-403-4794

Notices shall be effective upon receipt. The notice, addresses, email
addresses and phone numbers may be changed by giving notice in accordance
with this Agreement.

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c. This Agreement shall be binding upon and inure to the benefit of the
parties and their respective successors and assigns. Either party may
assign its rights and obligations under this Agreement without obtaining
the consent of the other party, provided that the transferee expressly
agrees in writing to assume and be bound by the obligations and
conditions of this Agreement. Any such sale, assignment or transfer not
in compliance with the foregoing shall be null and void.

d. If either party wishes to issue an official press release or other
formal public announcement to any public or trade media concerning the
contents or fact of this Agreement, then such party shall first consult
with the other party and both parties shall then cooperate to specify and
mutually agree upon the contents, time and place of such press release or
public announcement.

e. This Agreement contains the entire agreement of the parties hereto
respecting the subject matter hereof and supersedes all prior agreements,
understandings, negotiations, communications and discussions, whether
oral or written, of the parties hereto, pertaining to such subject
matter. No amendment, supplement, modification or waiver of this
Agreement shall be binding unless set forth in writing and signed by the
parties hereto.

f. No waiver of any of the provisions of this Agreement shall be deemed
or shall constitute a waiver of any other provision, nor shall such
waiver constitute a continuing waiver unless otherwise expressly provided
in a written document signed by the parties hereto.

g. This Agreement may be executed in counterparts, each of which, or any
combination of which when signed and delivered by all of the parties,
shall be deemed an original, but all of which when taken together shall
constitute one agreement.

1@. TERMINATION.

Due to the potential fluctuation in the value of the IP Rights over time as
well as GHER’s available resources to purchase the IP Rights, this Agreement
to purchase Todd Meagher’s IP Rights terminates on May 31, 2020 if not agreed
to and executed by all parties.

IN WITNESS WHEREOF, the parties have executed this Agreement on April 13,

if as of the Effective Date.
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Todd Meagher GHER Solutions’, LLC.
Managing Menber

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
IN RE: §
§
TODD MEAGHER § CHAPTER 11
§
2101 LEGACY COURT § CASE NO. 20-40208-11
KELLER, TX 76248 §
§
DEBTOR. §

DECLARATION OF TODD MEAGHER IN SUPPORT OF
DEBTOR’S MOTION TO SELL

1. My name is Todd Meagher, the Debtor in the above-referenced Chapter 11 proceeding.
All statements made herein are within my personal knowledge, true and correct. I make this
Declaration in support of Debtor’s Motion to Sell.

2. I am an independent software developer and Internet business developer and have been
engaged in the development, acquisition, and operation of Internet business software and
intellectual property rights since 1994.

3. As part of my software and Internet business development, I develop, register, license
and sell trademarks and patents. Currently, I am the owner of the federally registered trademarks
Registration Certificate Numbers 3,776,817, 3,647,253, 3,712,651 and their associated goodwill,
software patents US Patent Numbers 9,442,626 and 8,346,575, and common law trademark
rights and pending trademark registration applications Serial Numbers 88216119 and 88843232
for the trademarks MyStore and MyStore.com along with their associated goodwill. (the "IP
Rights").

4. I have licensed the aforementioned IP Rights to GHER Solutions, LLC, a Delaware

Limited Liability Company (“GHER”) since 2011.

DECLARATION OF TODD MEAGHER PAGE 1 of 3
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5. I have received an offer from GHER to purchase the IP rights in the amount of

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6. I incorporated GHER Solutions, LLC on January 3, 2011. On May 25, 2011, I
transferred 100% of its ownership to my son Nickolas Meagher. Currently, he is the sole
managing member of the company. Since 2011, all tax filings show him to be GHER’s sole
owner. I have in the past provided software project management and development services to
GHER as an independent contractor. I have also been the licensor of intellectual property used
by the company and part of the Purchase Agreement.

7. Licensing and selling intellectual property rights is my ordinary course of my business.
Such activities provide important sources of funding to allow me to continue my business
operations. The Purchase Agreement, which I am seeking Court approval for, is typical for my
business.

8. I believe the sale of the IP Rights is a sound business decision as it liquidates assets of my
estate and would provide my business with additional liquid funding, which is especially
important in light of the market uncertainty surrounding the current national pandemic. As
GHER’s offer expires on May 31, 2020, therefore the time to execute this Purchase Agreement is
limited. I am therefore asking for expedited consideration of the sale by the Court so that I do
not lose such a promising opportunity to acquire cash. It is my understanding that while GHER
intends to continue the use some of the IP Rights for its own ventures, it has an opportunity to
bundle the IP Rights with other intellectual property it currently owns and sell them. It is also
my understanding that taking advantage of, and maximizing the value, of these opportunities is

time sensitive.

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9. On April 13, 2020, I hereby declare under penalty of perjury under the laws of the
United States of America that the foregoing statements are true and correct within my

personal knowledge.

Todd Meagher

DECLARATION OF TODD MEAGHER PAGE 3 of 3
